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UNITED STATES DISTRICT COURT
IN THE MIDDLE DISTRICT OF FLORIDA

 

ORLANDO DIVISION
JEFFREY DUCK,
Pl ' 'fr .. '
amtl , CASENO.(p_lL/,C\/,C]L/,OKL- z(aGA-K
-VS- § ,\,
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ANSWER FINANCIAL, INC. ?-°;‘,S; § an
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Defendant 322 "")’ r-
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COMPLAINT >'»:>_'fi W
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1. Plaintiff alleges violation of the Telephone Consumer Protection Aci’, 47 U.S.C
§227 et seq. (“TCPA”).

,|URISDICT[ON AND VENUE
2.

Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. §§1331.

3. The alleged violations described in the Complaint occurred in Volusia County,
Florida.
FACTUAL ALLEGATIONS
4.

Plaintiff is a natural person, and citizen of the State of Florida, residing in Volusia
County, Florida.

5.

Plaintiff is the “called party.” See Soppet v. Enhanced Recoverv Co., LLC, 679
F.3d 637, 643 (7th Cir. 2012), reh'g denied (May 25, 2012).
6.

Defendant, Answer Financial, is a corporation and a citizen of the State of

Delaware with its principal place of business at 15910 Ventura Blvd. Suite 600, Encino, CA
91436.

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7. Defendant called the Plaintiff approximately 10 times, in an attempt to solicit
business. (Please See Attached Exhibit A).

8. Defendant intentionally harassed and abused Plaintiff on numerous occasions by
contacting Plaintiff on his cellular telephone without Plaintist prior consent.

9. On information and belief, the telephone calls were placed using automated
telephone dialing equipment, without human intervention.

10. Upon answering calls placed by Defendant to his cellular telephone, Plaintiff was
immediately placed on hold in order to be connected to a representative

11. Each call the Defendant made to the Plaintiff was made using an “automatic
telephone dialing system” which has the capacity to store or produce telephone numbers to be
called, using a random or sequential number generator; and to dial such numbers as specified by
47 U.S.C §227(a)(1).

12. Each call the Defendant made to the Plaintist cell phone was done so without
the “express permission” of the Plaintiff.

13. Plaintiff has been assigned telephone number (386) 956-2131 for the past ten (10)

years.
14. Plaintiff does not now, nor has he ever, received services from Defendant.
15. Plaintiff does not now, nor has he ever, entered into a business relationship with
Defendant.

16. Plaintiff his never provided his cellular telephone number to Defendant.
17. In or about September of 2013, Plaintiff began receiving automated calls to his
cellular telephone (386) 956-2131, from Defendant at 386-951-1461, 386-742-4036, 386-742-

4021

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18. Plaintiff answered Defendant’s telephone call on September 20, 2013, in attempt
to speak with the Defendant and end the calls.

19. The Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular telephone in
this case, with no way for the consumer, or the Defendant, to remove the incorrect number.

20. Plaintiff has received approximately 10 calls in total from the Defendant.

21. Defendant corporate policy and procedures provided no means for the Plaintiff to
have his cellular number removed from the call list.

22. Plaintiff did not expressly consent to Defendant’s placement of telephone calls to
Plaintiff`s cellular telephone by the use of an automatic telephone dialing system or a pre-
recorded or artificial voice prior to Defendant’s placement of the calls.

23. None of Defendant’s, telephone calls placed to Plaintiff were for “emergency
purposes” as specified in 47 U.S.C. §227(b)(l)(A).

24. Defendant, willfully and/or knowingly violated the TCPA with respect to the
Plaintiff.

COUNT l
(Violation of the TCPA)

25. Plaintiff incorporates Paragraphs one (l) through twenty-five (25).

26. Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintist prior express consent in violation of federal law, including 47 U.S.C §
227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages, costs,

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interest, attorney fees, enjoinder from further violations of these parts and any other such relief
the court may deem just and proper.

Respectfully submitted,

/s/ Amanda J. Allen

Amanda J. Allen, Esquire
Florida Bar #: 0098228

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Attorney for Plaintz]j’

CERTIFICATE OF SE_BVICE
I, Amanda J. Allen, Esquire, hereby certify that a true and correct copy of the foregoing

has been served on Defendant through Service of Process on its Registered Agent.

/s/ Amanda J. Allen

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Attomey for Plaintiff

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Phone Call Log for (386) 956-2131

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Time Number
1. 09/20/2013 06:28 pm (386) 951-1461
2. 09/20/2013 06:49 pm (386) 951_1461
3. 09/20/2013 06:50 pm (386) 742-4063
4. 09/20/2013 06:54 pm (386) 742.4063
5. 09/20/2013 06;59 pm (386) 742_4041
6. 09/20/2013 07:10 pm (386) 742-4041
7. 09/20/2013 07:28 pm (386) 742-4042
8. 09/21/2013 10:19 am (38§) 742-4042
9. 09/23/2013 09:51 am (386) 742-4036

 

 

 

EXH|BIT

§ "A"

